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                           IN THE UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION
In Re:

ELPIDIO NEGRETE                                            Case No. 9:16-bk-06562-FMD

                 Debtor
                                                  /

                        REPORT AND NOTICE OF TRUSTEE’S INTENTION
                           TO ABANDON PROPERTY OF THE ESTATE

TO: CREDITORS, DEBTOR AND OTHER PARTIES IN INTEREST:

       ROBERT E. TARDIF JR., the Trustee of the above-referenced debtor, reports that he intends to
abandon the following property of the debtor: Cash on hand in the amount of $2,420.00.

         Said property is being abandoned as there are no filed claims in this case.


              NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
notice or hearing unless a party in interest files a response within 30 days from the date set forth on the
attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602, and
serve a copy on the movant’s attorney, Robert E. Tardif Jr., P.O. Box 2140, Fort Myers, FL 33902, and any
other appropriate persons within the time allowed. If you file and serve a response within the time
permitted, the Court will either schedule and notify you of a hearing, or consider the response and grant or
deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the
 relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
 grant the relief requested.
                                            Certificate of Service

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically to the Assistant U.S. Trustee and Juan J. Mendoza, and by regular U.S. Mail to Elpidio
Negrete, 6671 Pangola Drive, Fort Myers, FL 33905, and all creditors and parties in interest as reflected
on the creditors matrix on this 26th day of June, 2019.

                                                  /s/ Robert E. Tardif Jr.
                                                  Robert E. Tardif Jr., Trustee
                                                  Post Office Box 2140
                                                  Fort Myers, Florida 33902
                                                  (239) 362-2755
                                                  (239) 362-2756 Facsimile
